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                          UM TED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                              CA SE N O .19-CR -20624-M 15


   UM TED STATES O F AM ERICA

   V.

   Y UD EL G O N ZA LEZ,

   D efendant.
                                                /

                     A G R EED FA CTUA L BA SIS FO R G U ILTY PLE A

          DefendantYudelGonzalez (the Gr efendant''orlGGonzalez'')hereby acknowledges
   and agreesthat,iftlliscasewereto go to trial,the United Stateswotlld establish arld prove

   thefollowing factsbeyond areasonabledoubt:

          From in or around April2013 through in or around January 2015,in M iam i-Dade

   County,in the Southem District of Florida,and elsewhere,Gonzalez did lcnowingly and

   willfully combine,conspire,confederate,and agree with co-conspirators,in violation of

   Title 18,United States Code,Section 1956t1$,to commit money laundering,thatis,to
   conducta fmancialtransaction affectz g interstate and foreign comm erce,which financial

   transaction involved the proceedsofspecified llnlawf'ulactivity,lfnowing thatthe property

   involved in the financialtransaction represented the proceeds of som e form of unlawful

   activity,and knowing thatthe transaction wasdesigned,in whole orin part,to concealand

   disguise the nature, location, sotlrce, ownersllip, alld control of the proceeds of the

   specified llnlawftzl activity, in violation of Title 18, United States Code, Section
              L
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    1956(a)(1)(B)(i). Thespecified tmlawfulactivity wasconspiracy to commithealth care
    fraud,in violation of Title 18,United States Code,Section 1349,
                                                                  .health care fraud,in

    violation ofTitle 18,United StatesCode,Section 1347,
                                                       .wire fraud,in violation ofTitle

    18, United States Code, Section 1343; and conspiracy to pay and receive health care

    kickbacks,in violation ofTitle 18,Urtited StatesCode,Section 371.

           Golden HomeHea1th Care,Inc.(ç&Go1den''),Homestead HomeHealth CareLLC
    (Ktl-lomestead''),and MA Home Health Agency,Inc.(;(M A'')were Florida entitiesthat
    did business as hom e health agencies in M iam i-Dade Cotmty, Florida. Golden,

    H om estead, and M A w ere engagçd in health care gaud by,nm ong other things,paying

    ldckbacks to patient recruiters and subm itting false and fraudulent claim s to M edicare.

    A11Services24/7 Inc.andEveryday ProfessionalCare Service,Inc.wereshellcompanies

    established by Gonzalez. NeitherAllSelwices24/7 Inc.norEveryday ProfessionalCare

    Selwice,Inc.provided any legitim ate servicesto G olden,H om estead,orM A .

           Gonzalez was never an employee of Golden, Hom estead, or M A and never

    otherwisehad any legitim ateaflliation with these entities,nordid mly ofthe individuals

    Gonzalez recnzited to cash checksissued by these hom e health agencies. N evertheless,

    between April2013 and January 2015,Gonzalez and his recruiteb money launderers
    received and cashed checks issued by Golden,H om estead,and M A with an aggregate

    value of $852,446. Those checks were drawn on the bnnk accounts of Golden,
    Homestead,and M A,and represented theproceedsofhealth carefraud ao wireâaud.
    Gonzalez and his recruited m oney launderers cashed the checks issued by Golden,

    Hom estead,and NIA,mld collected a fee fordoing so. Gonzalezand hisco-conspirators


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               then retum ed the rem aining fraud proceedsin cash to individualsatGolden,Hom estead,

               and M A fortheirown use and to furtherthe fraud. Gonzalez knew and understood that
           l
               the checks he and llis co-conspiratorsreceived and cashed represented the proceeds of

               som eform oftmlawfulactivity carried outby Golden,Hom estead,and M A. Some ofthe

               checks Gonzalez cashed were intentionally disguised in the m em o lines with notations

               such as (T rofessional Services,'' despite the fact that neither G onzalez nor his shell

               com panieseverprovided any legitim ateservicesto thehom ehealth agencies.
                      .




                      In total,asaresultofGonzalez'sparticipation in theconspiracyto comm itmoney

               laundering,the value oflatmdered fllndswasapproxim ately $852,446.
                      The preceding statem ent is a sum m ary,m ade for the pup ose of providing the

               Courtwith a fadualbasisformy guilty jlea to the charges againstme. Itdoes not
               include a11of the facts known to m e concenling the crim inal activity in which I and

               others were engaged. lm ake this statem entknowingly and voluntarily because lnm :1.

               factguilty ofthecrimescharged.


               Date:0)y/s/a:at
                             '
                             a                     By: !EL'GON ZA LEZ
                                                         DEFEN D AN T


               Date:ollzzfopwo                     By:            6        .L                        c''--
                                                         J E R .E.BATISTA
                                                         COU N SEL FOR THE D EFEN D AN T


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